                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                                3:12cr13-5

UNITED STATES OF AMERICA,                          )
                                                   )
                                                   )
Vs.                                                )              ORDER
                                                   )
ABDUL WHITE,                                       )
                                                   )
                 Defendant.                        )
_______________________________                    )

        THIS MATTER is before the court on a “Motion for Bill of Particulars to Disclose

Name and Address of Confidential Informer In Order to Prepare Defense” (#58). On March

22, 2012, this court allowed Mr. White’s request to proceed pro se and provided him with

standby counsel admitted to practice before the Bar of this court. The day before, the instant

motion was filed by “Navin-Chandra Naidu,” who claims to be “counsel for Abdul Luqman

White” and further claims an “American Bar Association ID# 01798766.”

        Defendant is advised that while he has a right to represent him self or employ an

attorney of his choice, the court will neither accept nor consider pleadings filed by persons

who are not admitted to practice before the Bar of this court. Indeed, unless Mr. Naidu is a

properly licensed attorney admitted to practice before this court, his attempt to file pleadings

in this court amounts to the unauthorized practice of law, punishable as a criminal offense

under North Carolina law.



                                           ORDER

        IT IS, THEREFORE, ORDERED that the Motion for Bill of Particulars to Disclose

Name and Address of Confidential Informer In Order to Prepare Defense (#58) is DENIED



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as non-justiciable.




       The Clerk of this Court is instructed to certify a copy of this Order, pleading #58, and

any attachments thereto to the North Carolina State Bar for whatever action the Bar deems

appropriate.



                                              Signed: March 26, 2012




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